                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

WENDY POPE,                                       )
                                                  )
           Plaintiff,                             )
                                                  )   Case No. 1:23-cv-6
v.                                                )
                                                  )   Judge Curtis L. Collier
BLUECROSS BLUESHIELD OF                           )   Magistrate Judge Susan K. Lee
TENNESSEE, INC., and VOLUNTEER                    )
STATE HEALTH PLAN, INC.,                          )
                                                  )
           Defendants.                            )

                                      JUDGMENT ORDER

       Before the Court is the parties’ joint motion to remand the case to the Chancery Court of

Hamilton County, Tennessee. (Doc. 8.) In support of their motion, the parties state, “Minutes

before Defendants began filing their removal papers, Plaintiff sent a filed copy of the Amended

Complaint to Defendants via email. Defendants did not see the email containing the Amended

Complaint until after they had already noticed removal.” (Id. at 2 (emphasis omitted).) Because

the Amended Complaint dropped Plaintiff’s federal claim, the parties contend that the “amendment

has defeated this Court’s subject matter jurisdiction” because “the Complaint originally raised a

federal question (given the parties are not completely diverse).” (Id. at 2.)

       Pursuant to 28 U.S.C. § 1331, federal “district courts shall have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United States.” Federal courts

have limited subject-matter jurisdiction; federal-question jurisdiction exists when the cause of

action arises under federal law. Miller v. Bruenger, 949 F.3d 986, 990 (6th Cir. 2020). “[W]hen

a plaintiff files a complaint in federal court and then voluntarily amends the complaint, courts look

to the amended complaint to determine jurisdiction” because “[a]n amended complaint supersedes




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an earlier complaint for all purposes.” In re Refrigerant Compressors Antitrust Litig., 731 F.3d

586, 589 (6th Cir. 2013) (first quoting Rockwell Int’l Corp. v. United States, 549 U.S. 457, 473–

74 (2007); then citing Pac. Bell Tel. Co. v. Linkline Commc’ns, Inc., 555 U.S. 438, 456 n.4 (2009)).

       Here, Plaintiff’s Amended Complaint is the operative complaint for determining whether

this Court has subject-matter jurisdiction to hear the case. The only cause of action she asserts is

under the Tennessee Human Rights Act, Tenn. Code Ann. § 4-21-401, a state law, so there is no

federal question jurisdiction. Nor is there diversity jurisdiction under 28 U.S.C. § 1332 because

the parties are all citizens of Tennessee. (Doc 8-1 ¶¶ 1–3.) Therefore, the Court does not have

subject-matter jurisdiction to hear this case and must remand it to state court.

       Accordingly, the parties’ joint motion (Doc. 8) is GRANTED. The Court REMANDS

this case to the Chancery Court of Hamilton County, Tennessee. There being no further issues,

the Court DIRECTS the Clerk of Court to CLOSE the case.

       SO ORDERED.

       ENTER:

                                                      /s/
                                                      CURTIS L. COLLIER
                                                      UNITED STATES DISTRICT JUDGE


ENTERED AS A JUDGMENT
   /s/ LeAnna R. Wilson
   CLERK OF COURT




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